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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


ROBERT TERWILLIGER,

                                               Case No.: 8:20-cv-03031-MSS-JSS
v.

CAPITAL BANK, N.A.,
d/b/a OPENSKY

     Defendant.
_______________________________________/


         NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff, ROBERT TERWILLIGER (“Plaintiff”), by and through the

undersigned counsel, hereby dismisses Defendant, CAPITAL BANK, N.A. d/b/a

OPENSKY, in the above-captioned action with prejudice, each party to bear their own

attorneys’ fees and costs.

                             CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been filed electronically filed with the
Clerk of Court by using the CM/ECF system, which will notify Defendant, this
24th day of February, 2021.



                                        SWIFT, ISRINGHAUS & DUBBELD, P.A.
                                        /s/ Jon P. Dubbeld__________________
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